Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 1
                                    of 37




                           Exhibit 38
   Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 2
                                       of 37




Health in Transportation Corridor Planning Framework




                                     FHWA-HEP-16-014

                                              Notice
                The contents of this report reflect the views of the authors, who
                are responsible for the facts and accuracy of the data presented
                herein. The contents do not necessarily reflect the official policy
                of the U.S. Department of Transportation.

                This report does not constitute a standard, specification, or
                regulation.
                               Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 3
                                                                   of 37

                                                                Health in Transportation Corridor Planning Framework

    Contents
    Background ...................................................................................................................................................................................................................................... 2
    Getting Started................................................................................................................................................................................................................................. 3
    Step 1: Define Transportation Problems and Public Health Issues ................................................................................................................................... 4
    Step 2: Identify Transportation and Health Needs, Resources, and Priorities ............................................................................................................... 4
    Step 3: Develop Goals and Objectives that Promote Health in the Community .......................................................................................................... 4
    Step 4: Establish Evaluation Criteria that Include Public Health ........................................................................................................................................ 4
    Step 5: Develop and Evaluate Alternatives and their Health Impacts ............................................................................................................................. 4
    Step 6: Identify Alternatives that Support Health in the Community............................................................................................................................... 4




                                                                                             Quality Assurance Statement
    The Federal Highway Administration provides high-quality information to serve Government, industry, and the public in a manner
    that promotes public understanding. Standards and policies are used to ensure and maximize the quality, objectivity, utility, and
    integrity of its information. FHWA periodically reviews quality issues and adjusts its programs and processes to ensure continuous
    quality improvement.




Introduction                                                                                                                                                                                                                         1|P a g e
                   Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 4
                                                       of 37

                                     Health in Transportation Corridor Planning Framework




    Background
    The Health in Transportation Corridor Planning Framework aims to support transportation agency efforts to incorporate health into
    corridor planning studies. It is intended to be used within an existing corridor planning process; not as a stand-alone or parallel
    process. Because transportation planning at the corridor level is flexible and adaptable to many different issues and contexts, the
    Framework is scalable to any type of corridor. It can be used at a single point in the process or to inform every aspect of the corridor
    planning study. It may also be used to inform planning activities at both the regional and project level to support broad health goals.
    Transportation practitioners at the State, regional, and local levels who conduct or participate in corridor studies are the intended
    audience for the Framework; recognizing health professionals are highly useful partners. Health issues, goals, and priorities are very
    context specific, and the Framework does not provide answers or outcomes. It identifies things to consider, as well as data, tools,
    and resources that may be helpful.




Introduction                                                                                                                      2|P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 5
                                                        of 37

                                        Health in Transportation Corridor Planning Framework

Getting Started
Why should a transportation agency try to address health problems?
The simple answer is because transportation decisions can impact health in the community. Considering these impacts early, as decisions are
made, supports better outcomes.
What does health or public health mean?
Health can mean many things and public health often has strong associations. Practitioners who assisted in development of the Health in
Transportation Corridor Planning Framework (Framework) recommended that the tool remain flexible enough to include any individual, group,
or agency that has an interest in health. The definitions below informed the development of the Framework.
   World Health Organization: Health is a state of complete physical, mental and social well-being and not merely the absence of disease or
   infirmity.
   Public Health refers to the science and art of preventing disease, prolonging life and promoting health through organized efforts and
   informed choices of society, organizations, public and private, communities and individuals. Access to healthcare is an important part of
   supporting public health.
   Social determinants of health are life-enhancing resources, such as food supply, housing, economic and social relationships, transportation,
   education, and health care, whose distribution across populations effectively determines length and quality of life.
   Health equity is when everyone has the opportunity to attain their full health potential and no one is disadvantaged from achieving this
   potential because of their social position or other socially determined circumstance.
The Health in Transportation Corridor Planning Framework uses the terms “health” and “public health” interchangeably except with reference
to specific State and county agencies often referred to as departments of public health. Health equity is an area of specific interest that
includes both the social determinants of health and potentially disadvantaged populations.
Helpful Hints — Use the icons below to search quickly for specific information in the Framework regarding data, tools, and resources.




Getting Started                                                                                                                                3|P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 6
                                                        of 37

                                        Health in Transportation Corridor Planning Framework

Getting Started Checklist
Use the questions below to identify how you might use the Framework in your transportation planning efforts.

    ☐     Does your process for completing a corridor planning study appear similar to the Framework steps?

    You can organize the Framework information to match your needs. Individual transportation agencies will conduct corridor
    planning according to their own established practice. Match the steps to your existing corridor planning process so that you can
    consider health without a change to common practice.

    ☐     Where are you in the corridor planning process at this time?

    The Framework can be used at any point in the process. If you are adapting an active corridor planning study to incorporate
    health, you will need to match the steps to your process and identify where you are now. Check the previous steps to see if you
    missed something useful.

    ☐     Do you or others in your agency currently have relationships with health professionals?

    Established relationships are the quickest way to get started and provide the greatest support for data and information.
    Transportation agencies often include staff that routinely interface with public health agencies or other health support services.
    This may help you access important information, resources, and perspective. Identifying these partners and stakeholders is
    essential in using the Framework.

    ☐     Is there currently an interest in public health within your agency or from external participants?

    Your agency’s interests or the surrounding public/political environment may currently support incorporating health. Support
    for incorporating health comes from many different interests. For example, active transportation, complete streets, livability,
    sustainability, built environment, and other topics. Community planning processes such as land use, comprehensive planning, and
    school siting are other connections.There may be inter-agency leadership activities that are underway based on the surrounding
    political context.




Getting Started                                                                                                                          4|P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 7
                                                         of 37

                                          Health in Transportation Corridor Planning Framework



   Step 1: Define Transportation Problems and Public Health Issues

What happens here?                                                      Questions to Consider at this Step
This is a scoping step where transportation practitioners consider the  Do transportation agencies with jurisdiction in the corridor recognize public
problems and needs to be addressed in the corridor planning study.      health as an important issue related to transportation decisions?
There also may be an opportunity to address public health issues during What transportation problems and needs must the corridor planning study
transportation decision making, depending on what is important in the address?
specific corridor. This could be access to health services or healthy   Is there a potential for transportation decisions to impact health
food, reduced emissions, more active transportation options, or a       outcomes?
combination of needs. Practitioners will need to identify agencies,
                                                                        What health issues can be identified?
groups, and individuals that might have information to share about
potential health issues and needs.                                      What health stakeholders do we need to contact?

                              Do transportation partners and stakeholders support the incorporation of public health?
  Partnerships and            Is there a willingness in your transportation agency or with partners and stakeholders to support incorporating health?
    Stakeholders
                              If there is no existing interest/support, what are the options to get started?
Considering a wide range Consider whether your situation is one of lack of interest/support, resistance, or just lack of knowledge. You might be
of perspectives early in the able to make the case for incorporating health by identifying benefits, strong community support, or other factors that
process is critical. There is enhance the potential outcomes for your decision makers. Strong resistance can be addressed with small initial steps
a potential for many new that can be built upon over time.
participants in the corridor
                              Who are the potential health stakeholders?
planning study when
                              1. In your agency: Relationships might already be established in other parts of your agency that you can build on. For
health is incorporated.
                                 instance, safety and land use are often high-interest areas for public health professionals.
At this initial step it is    2. Other transportation groups: Transportation professionals at many levels might be working with health for other
likely that all participants     purposes. Consider the list below for potential contact.
are considered
                                 ♦ USDOT Staff – FHWA Division and FTA Regional staff who address Complete Streets, transit, corridor planning,
stakeholders. The
                                    project development, air quality, and safety
difference between
partners and stakeholders        ♦ State DOT Staff – Staff from planning, project development, safety, bicycle and pedestrian transportation, transit,
in the Framework is                 and operations
simple: if the                  ♦ MPOs– Staff across all areas of responsibilities; citizen advisory or technical committees


Define Transportation Problems and Public Health Issues                                                                                      5|P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 8
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

transportation agency          ♦ Elected officials in the community and those on policy boards with a particular interest in health
shares decision making         ♦ Local transportation agencies – Municipal or county transportation staff
with another group, that is
                               ♦ Para-transit operators – Including non-profit providers and city/county services
a partnership.
Partnerships will be           ♦ Transit authority – Any State, local, or county transit authority/service provider, whether fixed-route or on-
established over time as         demand
the details of the corridor 3. Health groups: Health professionals have goals and interests that could inform your plans for the corridor. Public
study become clear.            health departments are available at the county and State levels as your first potential resource. Other health groups
Public health agencies at      are listed below for consideration.
the county and State level      ♦ Local health agencies
are the most likely health      ♦ Local agencies representing special interests, such as the Agency for Aging, organizations representing minority,
stakeholders at the                low-income, or transit-dependent populations, and housing authorities
beginning of the corridor       ♦ Hospital, medical school/center, medical service providers, and medical insurance providers
study. Public health staff
                                ♦ Medical first responders
will likely have information
about health issues in the      ♦ Non-profit health advocacy groups, including special interests such as the local AARP chapter
corridor population, and        ♦ Environmental departments at the local/county, State, regional, and federal levels
may have data to share.         ♦ Centers for Disease Control and Prevention (CDC)
The Framework assumes
                             4. In the community: Representatives from the community provide critical insight on transportation problems, health
the county/State public
                                issues, and community priorities.
health agency is always
invited to participate          ♦ Other local, county, and State departments such as land use, education, economic development, social services,
when health is being               recreation, law enforcement
considered.                     ♦ Community groups with a focus on health or social determinants of health
                                ♦ School districts
                                ♦ Advocacy groups such as bicycle and pedestrian , livability, trails, social justice, environment
                               ♦ Individual advocates
                               ♦ Professional associations such as the American Planning Association, American Public Health Association
                               ♦ Economic development groups such as Chamber of Commerce, tourism
                               ♦ Large employers or corporate citizens as potential champions
                               ♦ Employers in the corridor who stand to benefit from improvements
                               ♦ Anchor institutions, including universities, hospitals, YMCA, and related groups that contribute to the local
                                   economy and community well-being

Define Transportation Problems and Public Health Issues                                                                                    6|P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 9
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

                                ♦ Philanthropies/foundations
                                ♦ Government funders

                              What are some enablers in working with health professionals?
                              Grant funding or shared planning funds have catalyzed collaboration between transportation and public health in many
                              States. Grants from CDC, non-profits, HUD, and others have supported interagency collaboration in this area.
                              Health professionals are often very proactive about including equity issues in plans and engaging low-income and
                              minority communities.

                              What are some potential challenges?
                              Use of language that is unfamiliar or means different things in the two fields
                              Data sharing and formatting along with a reluctance to share some data due to privacy issues
                              Data and tools available to consider health issues do not match the scale common in transportation
                              Unfamiliar structure of transportation decision making to those in health

Questions to Inform What is the transportation purpose and desired outcome of the corridor planning study?
 Decision Making What are the transportation problems to be addressed?
                            Have strategies been proposed to address these problems?
When incorporating public
                            What problems in the corridor relate to transportation but require action from others?
health, the intent is to
consider potential          How does land use impact transportation problems/strategies in the corridor?
opportunities for health    What health issues are anticipated in the corridor area/populations?
benefits in the community Is a high rate of obesity, asthma, crash incidences, or other health issues present?
as transportation decisions Are there opportunities to support increased physical activity, access to food, or access to other services?
are made. Identifying how Are there special populations who live in or regularly use the corridor?
transportation decisions
will support improvements
                            What are the health priorities?
                            What health issues are understood to be a priority for the community?
in health or those that
may lead to negative        How have the health issues been identified?
consequences is             How can the priorities for the corridor be put into a context to be more easily understood?
important.                  How will the corridor planning study help achieve overarching planning goals related to health and transportation?
Health stakeholders are       Is there information to support consideration of specific health topics?
essential to help             Is this corridor bike-friendly? Is there an established bicycle population? Is this a desired addition?
transportation                Are sidewalks available, safe, and connected to provide access to food/services/recreation?

Define Transportation Problems and Public Health Issues                                                                                  7|P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 10
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

practitioners understand       Is transit service provided in this corridor? Are transit stops safe and accessible? Is additional service needed?
these issues and the           Are there characteristics of the built environment that could enhance use of the corridor or adjacent facilities for non-
affected population.           motorized transportation/transit?
Prioritizing specific public   Is there evidence of pollution-related illness in the corridor?
health issues that
                               Is the distance from traffic to dwellings, schools, parks, playgrounds, and other population centers a concern?
transportation decisions
can most realistically         Are there specific populations of interest in the corridor? Is access a potential issue?
impact is necessary and        Does the community have a complete streets policy?
best done collaboratively.     Does the corridor contain a hospital or other medical service facilities?
                               Are there adopted or legislated policies concerning public health to build upon?

Data and Analytical What data and tools are available to develop an understanding of health issues?
     Support        What data are available for an understanding of the existing environment and infrastructure in the corridor?
                             What specific studies conducted by others might include health data?
Data sources and
analytical methods in this Data sources that might be useful at this step
step are for gathering       Data at the local, county, State, and national level common to transportation planning:
more general information        County comprehensive plans                                  School siting plans, Safe Routes to School
to understand how               Bicycle and pedestrian plans                                Emissions data
transportation problems         Modal share                                                 Crash data or other injury/fatality data sources
and needs may be related        Land use plans, zoning plans, and development plans         Census population data
to health issues. Detailed Data from studies conducted by others:
data sources and tools will
                                University or other research centers
be presented in future
                                Non-profit grants or awards
steps when priorities have      CDC or HUD grants
been identified.
                             Local planning departments, transit providers, and paratransit services may also have useful data.
Information at this step
may be used to help          Specific data sources to consider:
decision makers                      Behavioral Risk Factor Surveillance System (BRFSS) is the gold standard of behavioral surveillance. Available for
understand the potential             all 50 States and many US territories, BRFSS provides health-related behavior information that includes active
value of integrating health          transportation  and physical activity information and the rate for several chronic diseases. More information at:
into the study. This initial http://www.cdc.gov/brfss/
understanding may be         The Selected Metropolitan/Micropolitan Area Risk Trends (SMART) project uses BRFSS to analyze the data of selected
useful to ensure support     metropolitan and micropolitan statistical areas (MMSAs) with 500 or more respondents. More information at:
                             http://www.cdc.gov/brfss/smart/smart_data.htm

Define Transportation Problems and Public Health Issues                                                                                         8|P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 11
                                                        of 37

                                          Health in Transportation Corridor Planning Framework

throughout the process.   County Health Rankings – The University of Wisconsin Population Health Institute compiled data from several national
                          sources to rank counties by health. Highly recommended initial resource. For more information:
Use the icons to help
                          http://www.countyhealthrankings.org/
target the data and tools
that are most appropriate CDC Community Health Improvement Navigator – Public health departments, hospitals, and other federal grantees are
for your corridor study.  often required to complete needs assessments. The community health improvement (CHI) process identifies and
                          addresses community health needs, and these assessments can be useful resources for preliminary data on health
                          needs and issues in the community. For more information: http://www.cdc.gov/chinav/index.html

                                      America’s Health Rankings – American Health Foundation published this report tracking each State’s overall
                                      health as well as other health metrics. These metrics include obesity, smoking, diabetes, and physical inactivitiy.
                                      The Foundation also develops the America’s Health Rankings Senior Report. For more information:
                              http://www.unitedhealthfoundation.org/Publications/AHR.aspx
                              USDA Food Access Research Atlas – Provides food security data. Available at: http://www.ers.usda.gov/data-
                              products/food-access-research-atlas/go-to-the-atlas.aspx

                                     EPA’s AirData – Similar to the Environmental Public Health Tracking Tool, but updated more regularly and more
                                     consistent with FHWA guidance. Available at: http://www.epa.gov/airdata/
                              EPA EJSCREEN – Provides data and maps that identify different factors such as demographics, health, environmental,
                              and facility-level data. Available at: http://www2.epa.gov/ejscreen


                                     Rails-to-Trails ConservancyTrailLink – Inventory of rail-trails and other types of shared use pathways. Available
                                     at: http://www.traillink.com/
                                     TOD Database – Information on jobs and households located near rail transit stations. Available at:
                              http://toddata.cnt.org/

                              Tools that could be useful at this step:
                                    Transportation and Health Tool (USDOT and CDC)—provides data to practitioners that examine the health
                                    impacts of the transportation system. More information: https://www.transportation.gov/transportation-
                                    health-tool
                              Healthy Community Design Toolkit (CDC) contains a Healthy Community Design Checklist, a Healthy Community Design
                              PowerPoint, a How-to on “Creating a Health Profile for Your Neighborhood,” and a Planning for Health Resources Guide.
                              For more information: https://www.planning.org/nationalcenters/health/communitydesigntoolkit.htm
                              Community Metrics Tool allows users to search for performance measures relevant to their specific circumstances,
                              communities, and quality of life goals. http://www.fhwa.dot.gov/livability/tools/community_vision/

Define Transportation Problems and Public Health Issues                                                                                        9|P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 12
                                                        of 37

                                          Health in Transportation Corridor Planning Framework

                              Sustainable Community Indicator Catalog allows users to identify indicators that can measure progress toward their
                              sustainability objectives. https://www.sustainablecommunities.gov/indicators/discover

                                     H&T Affordability Index—Provides 2009 data on housing costs and estimates transportation costs for over 900
                                     metropolitan and micropolitan areas in the country. More information: http://htaindex.cnt.org/map/
                              HUD Location Affordability Index—This tool has up-to-date cost data, but does not include the underlying transit and
                              land use layer. For more information: http://www.locationaffordability.info/lai.aspx

                                     Walk Score allows you to search for addresses, neighborhoods, and cities to gauge access to destinations via
                                     walking, biking, and transit. For more Information: http://www.walkscore.com/

                                     How Does Transportation Affect Public Health?
       Resources                     http://www.fhwa.dot.gov/publications/publicroads/13mayjun/05.cfm
Resources often provide              Department of Transportation Key Issues in the Planning Process Briefing Book
very specific information     https://www.planning.dot.gov/documents/briefingbook/bbook.htm
that is useful. The
                              Health in All Policies Toolkit—Support for collaboration on health across government sectors.
Framework includes
                              http://www.changelabsolutions.org/publications/HiAP_Start-to-Finish
resources in the following
categories:                   Lessons on Communicating at the Interface between Transportation and Public Health—Effective ways for
                              transportation and public health professionals to communicate with each other. http://t4america.org/wp-
   General
                              content/uploads/2011/08/Dr.-Ellen-Alkon-APHA-Presentation.pdf
   Transit
                              Healthy Plan Making: Integrating Health into the Comprehensive Planning Process—Analysis of seven case studies and
   Air Quality                recommendations for change. https://www.planning.org/research/publichealth/pdf/healthyplanningreport.pdf
   Safety                     The Hidden Health Costs of Transportation—Examines potential health impacts of transportation investmets.
   Bicycle and Pedestrian     http://www.apha.org/~/media/files/pdf/topics/transport/hidden_health_costs_of_transportation_backgrounder.ashx
   Health Equity              Livable and Sustainable Communites—FTA’s webpage with resources related to livable and sustainable communities.
Use the icons to search       http://www.fta.dot.gov/about/13747.html
each step for resources       National Complete Streets Policy Atlas—An interactive database of complete streets projects.
that may be helpful.          http://www.smartgrowthamerica.org/complete-streets/changing-policy/complete-streets-atlas
                              Safe States Alliance—contains a number of resources, including the Livability and Smart Growth Assessment Tool
                              Database and the Safe, Healthy, and Active Transportation Toolkit.
                              https://www.transportation.gov/mission/health/literature-and-resources
                              The Transportation Cost Savings Calculator—A compilation of data that quantifies and/or monetizes the health impacts
                              of transportation. http://mobilitylab.org/research/the-transportation-cost-savings-calculator/
                              AARP Livability Index—Provides data on a variety of different quality of life measures including housing, transportation,

Define Transportation Problems and Public Health Issues                                                                                     10 | P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 13
                                                        of 37

                                          Health in Transportation Corridor Planning Framework

                              neighborhood characteristics, environment, health, opportunity, and civic and social engagement.
                              http://livabilityindex.aarp.org
                              The National Association of County and City Health Officials (NACCHO) Toolbox—provides users with a collection of
                              free, local public health tools. http://www.naccho.org/toolbox/

                                     Active Transportation: Making the Link From Transportation to Physical Activity and Obesity
                                     http://activelivingresearch.org/active-transportation-making-link-transportation-physical-activity-and-obesity
                              The New Majority: Pedaling Towards Equity—includes data on demographic ridership, the effect of safe cycling
                              infrastructure on ridership, new immigrant perceptions of bicycling, and the economic impact of transportation and
                              health inequity. http://bikeleague.org/sites/default/files/equity_report.pdf
                              Designing for Active Living among Children—summarizes research on the environmental factors and policies related to
                              youth’s physical activity and sedentary behavior patterns. http://activelivingresearch.org/designing-active-living-among-
                              children
                              Walkable and Affordable Communities—Looking at an area’s affordability through the lens of both housing and
                              transportation can shed light on how communities can maintain a healthy mix of uses and income levels.
                              http://bostonfed.org/commdev/c&b/2015/spring/scott-bricker-walkable-and-affordable-communities.htm

                                     Traffic-Related Air Pollution: A Critical Review of the Literature on Emissions, Exposure, and Health Effects
                                     http://pubs.healtheffects.org/view.php?id=334

                                     State of the Health Equity Movement, 2011 Update Part B: Catalog of Activities—Examples of how to reach
                                     health partners.
                                     http://www.altfutures.org/draproject/pdfs/Report_11_02_HealthEquityMovement_PartBActivities.pdf
                              A New Way to Talk About the Social Determinants of Health—a high level report on how to best incorporate
                              discussions of the social determinants of health into planning processes.
                              http://www.rwjf.org/content/dam/farm/reports/reports/2010/rwjf63023
                              Promoting Health Equity: A Resource to Help Communities Address Social Determinants of Health
                              http://www.cdc.gov/nccdphp/dch/programs/healthycommunitiesprogram/tools/pdf/SDOH-workbook.pdf

                              Tennessee DOT used the Framework to develop a standard process for consideration of health as transportation
    Examples from             improvements are identified and prioritized. TDOT used every opportunity available to solicit input in determining
       Practice               health and transportation priorities for the corridor, including joining forces with an active access management study
Transportation                The most successful engagement strategy was small group and individual interactions. Using opportunities to drive the
                              corridor, the team solicited specific input about sections of the corridor as viewed from the perspective of the various

Define Transportation Problems and Public Health Issues                                                                                     11 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 14
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

practitioners often find it   stakeholders. This approach was particularly useful with the elected officials from the cities and counties represented.
helpful to consider           For more information see the full case study report.
examples of successful
integration of health.        The City of Charlotte/Mecklenburg County and the University of North Carolina at Charlotte created the Quality of Life
                              Dashboard to assess the health of neighborhoods in Charlotte/Mecklenburg County. An online dashboard provides data
These examples may
                              on several neighborhood statistics, categorized under: [Neighborhood] Character, Education, [Civic] Engagement,
provide ideas to consider
                              Environment, Health, Housing, and Safety. This resource provides neighborhood-level data related to transportation
or a means to inform
                              (e.g., proximity to public transit, availability of sidewalks), and health (e.g., access to opportunities for physical activity,
decision makers about
                              healthy food, and healthcare). The Town of Davidson, NC has used the dashboard to provide aggregated data at a more
potential outcomes.
                              specific level than census tracts to inform the town’s Active Transportation Plan, which included a health equity analysis
                              to identify areas of greatest need. More information at: http://maps.co.mecklenburg.nc.us/qoldashboard/index.html

                              The Rhode Island Division of Planning works regularly with the State Department of Health. The Health Department has
                              supported the Division of Planning in better addressing equity into plans, including low-income and minority community
                              concerns. RhodeMap RI is a coordinated and forward-looking effort by the State to make Rhode Island a better place to
                              live and work, and is funded with a Sustainable Communities Initiative Grant. One of the six key areas supported in the
                              effort is Social Equity and Community Engagement. For more information:
                              http://www.planning.ri.gov/statewideplanning/sustainable/

                              Kentucky Transportation Cabinet and the Kentucky Department of Public Health are working together to increase
                              physical activity to address obesity. KDPH convened a multiagency committee that includes transportation, education,
                              safety, tourism, parks, youth and disabilities programs, and the Federal Highway Administration Division office. The
                              group agreed pedestrian master plans were the first step communities needed to get started. KTC received a CDC 1305
                              grant and began working with county health departments to develop walking master plans.

                              MPO Planning for Healthy Communities and State DOTs Role in Planning for Healthy Communities. These two reports
                              developed by the U.S. DOT Volpe Center can assist practitioners at MPOs and State DOTs in considering health
                              throughout the transportation planning process by providing examples of successful practice in several transportation
                              agencies.
                              http://www.fhwa.dot.gov/planning/health_in_transportation/resources/healthy_communities/ and
                              http://www.fhwa.dot.gov/planning/health_in_transportation/resources/statewide_healthy_communities/index.cfm




Define Transportation Problems and Public Health Issues                                                                                           12 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 15
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

                                                                          Sues

   Step 2: Identify Transportation and Health Needs, Resources, and Priorities

What happens here?                                              Questions to Consider at this Step
This step begins the development of a baseline understanding What data and information are available to define the health priorities and potential
for the corridor study by collecting data and information       benefits from transportation decisions?
about the needs, available resources, and priorities for both   What are the boundaries of the study with respect to geographic area,
transportation and health. Health partners will assist in       representative populations, scope, and funding?
looking at the problems and issues identified in Step 1 to help What is the baseline understanding for setting expectations of future
focus on what can/should be addressed in this study. Other      improvements?
activities at this step are to identify gaps in information and
                                                                Have you walked the corridor with stakeholders for improved perspective?
decide how to communicate effectively with stakeholders.
                                                                How will health stakeholders be engaged and informed?

     Partnerships and              How and when will stakeholders and the public be engaged?
                                  The full list of potential stakeholders provided in Step 1 can be refined to include those agencies/groups specific to
       Stakeholders
                                  this corridor. If the intent is to share decision making within the corridor study, specific stakeholders will become
At this step, the different roles partners. Stakeholders may advise the process by providing expertise and perspective at specific points in the study.
for participants will begin to    Advocacy groups and others with a special interest can provide valuable support with respect to outreach and
emerge. Health stakeholders unique sources of information to support the identified health priorities.
that provide significant          The effected community is always a primary stakeholder. This includes those who live in the area as well as those
support or will be needed for who depend on the corridor for transportation. Preparing for stakeholder and public involvement is important at
implementation of the             this step. Supplementing the agency’s public participation plan with new outreach mechanisms and participant lists
corridor plan should be           may be necessary. Public health professionals are particularly skilled at reaching special-interest groups and
engaged on a regular basis.       disadvantaged populations.
Although the transportation        The study will benefit from establishing specific times to check in with the public, either through collecting
decision making structure is       information about their interests or providing information about what has been learned/what is happening within
the ultimate authority, health     the study. The steps in the framework will be a useful communication tool to assist in understanding the progress of
partners can be a part of          the corridor planning study and what happens next. Consider how to effectively communicate with this new
technical decision making.         audience such as visualization techniques or other innovative approaches to sharing information.

  Questions to Inform              What are the boundaries of the transportation corridor planning study?
                                   What is the area of influence for transportation needs? For health issues?
Identify Transportation and Health Needs, Resources, and Priorities                                                                         13 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 16
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

     Decision making             What analytical capacity exists (data, tools, and skills) to conduct the corridor study?
                                 Who uses the corridor? What are the primary uses (access, mobility, connectivity)?
Step 2 establishes the baseline
condition in the corridor        Are there unmet transportation needs in the corridor?
before improvements are          What types of transportation improvements might be useful to address identified health issues?
considered. This information     What are the safety issues in the corridor?
will be used to compare          What are the physical, environmental, and socio-demographic characteristics of the corridor?
potential health outcomes.       What is the current land use pattern? How is it forecast to change?
Health issues can be prioritized
                                 What are the available travel options in the corridor?
as an input to transportation
                                 What is the level of active transportation in the corridor to use as a baseline?
decision making.
                                 What existing plans or policies should be considered?
Decision makers want to
                                 Who is living and working in proximity to the corridor?
understand the return on
                                 Are there disincentives to using the corridor due to safety or access concerns?
investment. Practitioners must
consider the data, tools, and    What interests do health agencies and stakeholders have in the corridor?
information available to         Who are the key individuals/groups to involve?
support this understanding.      What data/resources/skills might they bring?
Information traditionally        Do the stakeholders have a history of transportation and health partnerships?
collected in a transportation      What are the public health priorities for the corridor?
corridor study must be             Does management/leadership in both transportation and public health agencies support the priorities identified?
expanded to incorporate the        Are health priorities supported by the community and other stakeholders?
health context. Health issues      Are disadvantaged/special-interest populations present in the corridor?
often elevate the importance
                                   What are the priority issues among disadvantaged/special-interest populations?
of multimodal options.
                                   Is an HIA or other health-related study available or being considered for this area of influence?
Health Impact Assessments          Is the timeframe appropriate for this corridor study?
(HIA) can provide information
                                   Are the transportation agency, partners, and stakeholders open to including this information?
for decision making if they
apply to the specific corridor     What will be the process for incorporating results or conclusions into the corridor plan?
under study.                       Are other forms of health assessment being considered?
Available funding is always a      What are the funding sources that will support considerations of public health?
consideration as well as the       Is there a current Transportation Improvement Program (TIP) project in this corridor?
potential for shortfalls and/or    Is additional funding needed to incorporate health into the corridor planning study?
delays. Grant funding may          Is the public health interest supported by grants or other funding sources?
provide additional resources       Is there an opportunity to engage others with planning grants or in-kind services?
Identify Transportation and Health Needs, Resources, and Priorities                                                                       14 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 17
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

to support the corridor study.     Are the public health partners willing or able to provide additional resources or funding?

   Data and Analytical             Questions to identify useful data and tools
        Support                    What existing data and tools are available to incorporate health in the corridor planning study?
                                   What data are needed to support the health priorities?
Data collection is a primary
objective in Step 2 to             Are health data available at the appropriate scale? Are there data gaps?
determine what health data         Is quantitative modeling desired or needed? If so, are the right data/tools available?
are available and how this can     What is the timeframe for the health data?
be used in the planning study.     Is there qualitative data that could help inform the study?
Transportation professionals
have standard data analysis        What baseline data are available on the transportation relationship to health?
tools and criteria that often do   Is this corridor bike-friendly? Is there an established bicycle population? Is this a desired addition?
not apply well to health data.     Are sidewalks available, safe, and connected to provide access to food, services, recreation?
Health data may be at a            Is transit service provided in this corridor? Are transit stops safe and accessible? Are more needed?
different scale or accuracy
                                   Are there characteristics of the built environment that could enhance use of the corridor for non-motorized
than common in
                                   transportation/transit?
transportation decision
making.                            What is the distance from traffic to dwellings, schools, parks, playgrounds, etc.?
                                   Are data on injuries and fatalities in the corridor available? Is the location specific enough to be useful in analysis?
This step requires strong
                                   Is access for disadvantaged or special populations an issue?
communication between
transportation and health          Data types useful in considering health:
professionals to overcome any      Travel survey data with information on mode preferences
analytical/evaluation
                                   Mode choice data from the travel demand model
obstacles. Transportation
practitioners are not expected     Transit agency data on onboarding along the corridor and data on accessing buses via bicycles or wheelchairs along
to become health experts.          individual routes
Health professionals will be       Bicycle and pedestrian level of service
familiar with potential data       Bicycle and pedestrian count data (consider unusual sources such as advocacy groups, bike share programs, or
sources and analytical             local/regional governments)
methods to inform the study,       Crash Databases: Many States have crash databases that can be mapped at the corridor level.
and should be considered the       Average daily traffic counts or nearby air quality monitoring data might be available to inform air pollution levels.
primary resource.
The data and tools used at         Data sources useful at this step:

Identify Transportation and Health Needs, Resources, and Priorities                                                                              15 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 18
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

Step 2 in the Framework will     Local plans and policies—environmental plans, county health plans, county comprehensive plans, economic
likely be useful at Step 5 where development plans, and school siting plans may provide valuable information about the current and forecasted
potential solutions are          physical, environmental, and socio-demographic characteristics of the corridor.
analyzed for their
effectiveness in addressing               Some States conduct health surveys, such as the California Health Interview Survey, which surveys more
health issues as well as                  than 50,000 people through telephone surveys on topics such as health conditions, health behaviors,
transportation needs. You may             neighborhood and housing context, and food environment. Data can be analyzed down to the county level.
need to consider the ability to  More  information    at: http://healthpolicy.ucla.edu/chis/about/Pages/what-is-chis.aspx
forecast data at this step in    US Census/American Community Survey—The U.S. Census Bureau provides a range of data, including
preparation for evaluating       demographics, socioeconomic status, education, and commuting behaviors. These data provide an overview of the
future outcomes.                 socio-demographic characteristics. Data are available by block groups. More information is available at:
                                 http://www.census.gov/.
                                 For additional specific information, note the two sources below.
                                 Census Education Attainment Package—http://www.census.gov/hhes/socdemo/education/
                                 Census Income, Poverty, and Health Insurance Coverage Package—
                                 https://www.census.gov/hhes/www/hlthins/data/incpovhlth/
                                 Census Transportation Planning Package The Census Transportation Planning Products (CTPP) was designed by
                                 transportation planners and provides a set of specific tabulations from large surveys the U.S. Census Bureau
                                 American Community Survey (ACS) data. The CTPP includes residence-based tabulations, workplace-based
                                 tabulations, and worker flows between work and home. More information can be found at
                                 https://www.fhwa.dot.gov/planning/census_issues/ctpp.
                                 Centers for Disease Control and Prevention’s National Environmental Public Health Tracking Network provides
                                 State and county level health data. More information at: http://ephtracking.cdc.gov/showHome.action
                                 The Chronic Disease Indicators (CDI) is a crosscutting set of 97 indicators developed by consensus. The CDI enables
                                 States, territories, and large metropolitan areas to define uniformly, collect, and report chronic disease data that
                                 are important to public health practice. More information at: http://www.cdc.gov/cdi/

                                            Safe Routes to School (SRTS) Program—student walk or bike counts. SRTS is a DOT program that addresses
                                            the challenges and barriers that prevent children from walking or biking to school.
                                            http://www.saferoutesinfo.org/data-central/find-state-contacts
                                   Fatality Analysis Reporting System (FARS) – location and information about fatal crashes, including separate data
                                   on bicycle and pedestrian fatalities. More information at: http://www.nhtsa.gov/FARS

                                   Tools to consider at this step:

Identify Transportation and Health Needs, Resources, and Priorities                                                                        16 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 19
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

                                          Oregon Mosaic—Mosaic is a new methodology for use in transportation planning the Oregon Department
                                          of Transportation developed in collaboration with local, regional, and statewide stakeholders. The approach
                                          offers planners and decision makers an effective and efficient way to evaluate the social, environmental,
                                   and economic costs and benefits of transportation actions and investments. http://www.oregonmosaic.org/

                                            National Tree Benefit Calculator—The tool estimates the benefits (in dollars) of individual trees planted
                                            along a street and provides an analysis of the corridor’s existing trees. More information available at:
                                            http://www.treebenefits.com/calculator/

                                            EPA Smart Loction Database—Provides neighborhood level data on factors related to active transportation.
                                            Available at: http://www2.epa.gov/smartgrowth/smart-location-mapping
                                   Route Tracking Tools, such as STRAVA—Although not an official assessment of all routes used, this crowd-sourced
                                   way of gathering data on trips and routes can inform the development of alternatives, as referenced by Kentucky
                                   Transportation Cabinet Bike-Walk. Although this will require purchasing the data, capturing commute data is often
                                   difficult. More information about Kentucky’s use of STRAVA at: http://transportation.ky.gov/Bike-
                                   Walk/Pages/ResourceLinks.aspx
                                   Bicycle and pedestrian Level of Service (LOS) Calculator Tool—Because auto LOS is a standard measure, many
                                   attempts have been made to quantify multimodal LOS. This tool is one example for reference.
                                   http://rideillinois.org/advocacy/bikeped-level-of-service-measures-and-calculators/
                                   The Physical Activity Neighborhood Environment Scale (PANES) and the Neighborhood Environment Walkability
                                   Scale (NEWS) are two data collection tools that measure and assess walking and biking characteristics at the
                                   neighborhood level. Designed by the University of California – San Diego, these tools are complemented by others
                                   such as Quality of Life Study for Seniors. More information available at: http://sallis.ucsd.edu/measures.html
                                   Pedestrian Environmental Quality Index (PEQI)—A tool for assessing the existence of pedestrian infrastructure and
                                   overall walkability developed by the San Francisco Department of Public Health. The tool is a worksheet and mobile
                                   app that can be tailored according to neighborhoods in any State. More information available at:
                                   http://www.peqiwalkability.appspot.com/about.jsp
                                   Young Child Risk Calculator—Developed by the National Center for Children in Poverty, this tool calculates the
                                   percentage of children in a given geographic area that are experiencing specific risk factors that lead to poor health,
                                   school, and developmental outcomes. Available at: http://www.nccp.org/tools/risk/?state=US&age-
                                   level=3&income-level=Low-
                                   Income&ids%5B%5D=77&ids%5B%5D=84&ids%5B%5D=76&ids%5B%5D=78&ids%5B%5D=74&ids%5B%5D=72&ids%
                                   5B%5D=83&submit=Calculate



Identify Transportation and Health Needs, Resources, and Priorities                                                                           17 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 20
                                                         of 37

                                           Health in Transportation Corridor Planning Framework


                                                                       Resources
        Commuters’ Exposure to Particulate Matter Air Pollution Is Affected by Mode of Transport, Fuel Type, and Route – Significant influence on
        rush-hour exposures. http://www.ncbi.nlm.nih.gov/pubmed/20185385

        TCRP 100: Transit Capacity and Quality of Service: http://onlinepubs.trb.org/onlinepubs/tcrp/tcrp100/part%200.pdf


        NCHRP 616: Multimodal LOS for Urban Streets: http://onlinepubs.trb.org/onlinepubs/nchrp/nchrp_rpt_616.pdf
       Multimodal LOS Indicators: http://www.vtpi.org/tdm/tdm129.htm
Bike LOS documentation: http://nacto.org/docs/usdg/bicylce_Level_of_service_model_sprinkle_consulting.pdf
Ped LOS summary documentation: http://asap.fehrandpeers.com/wp-content/uploads/2012/05/MMLOS-Tool-HCM-2010-Pedestrian.pdf
TRB Tools for Pedestrian and Bicycle Volume Data Collection—covers methods to mine and manage data sources, find and use new technologies,
and compile and disperse pedestrian and bicycle volume data. http://apps.trb.org/cmsfeed/TRBNetProjectDisplay.asp?ProjectID=3159

        “A Census of the U.S. Near-Roadway Population: Public Health and Environmental Justice Considerations”—Baseline information on the
        race and income disparities of populations living near roads. More information at:
        http://www.sciencedirect.com/science/article/pii/S1361920913001107
Expanding Specialized Transportation: New Opportunities under the Affordable Care Act—describes how States can utilize the Affordable Care Act
(ACA) to promote and/or fund specialized transportation services for the elderly and adults with disabilities.
http://www.aarp.org/content/dam/aarp/ppi/2015/AARP-New-ACA-Transportation-Opportunities.pdf
The Imagining Livability Design Collection—describes several common tools and treatments that can be utilized to create age-friendly
environments. http://www.aarp.org/livable-communities/tool-kits-resources/info-2015/imagining-livability-design-collection.html


                                                                 Examples from Practice
Delaware Valley Regional Planning Commission has been actively incorporating health for several years. The agency used the Framework to
enhance the Coordinated Human Services Transportation Plan by providing data to identify health issues, needs, and priorities in the Haddon
Avenue corridor. Steps 1 and 2 were completed concurrently to develop an understanding of the baseline information prior to engaging
stakeholders. Some data were readily accessible from the American Community Survey and other standard data sources. Customized maps with
data from new sources were used to engage stakeholders at the first Advisory Group meeting. For more information see the full case study report.


Identify Transportation and Health Needs, Resources, and Priorities                                                                    18 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 21
                                                         of 37

                                           Health in Transportation Corridor Planning Framework

Davidson Walks & Rolls Active Transportation Master Plan—Serves as an active transportation plan for the Town of Davidson, NC. The planning
staff conducted extensive data collection and analysis of current conditions for walking and biking, including a health and environmental equity
analysis to identify areas lacking access to necessities such as transit access. More information: http://www.ci.davidson.nc.us/index.aspx?NID=774
(see Current Conditions and Appendix A).

Middle Tennessee Transportation and Health Survey—Developed a travel survey that sampled 6,000 households that included questions about
physical activity and eating behaviors along with other targeted health information about food security, physical activity for transportation and
leisure, and chronic diseases prevalent in the household. A small subset of households (600) used GPS devices and activity monitors to collect more
specific data on physical activity. More information: http://www.nashvillempo.org/docs/bikeped/ABOUT_HHTS_102212.pdf

Health Impact Assessment of the Massachusetts Department of Transportation (MassDOT) Grounding McGrath Study—Presents the results of
MassDOT’s pilot HIA. The study includes demographic data, an assessment of conditions for walking and biking, transit availability, air quality,
pedestrian and bicycle activity, safety (including pedestrian and bicycle crashes), and land use. Additionally, it includes an evaluation of the effects
on these criteria that would result from a range of potential corridor improvement alternatives. www.mass.gov/eohhs/docs/.../hia-mcgrath-final-
report.doc

Portland Metro Equity Baseline Report—Provides a framework for Metro to better understand its roles and responsibilities for equity in the region,
and ideas for how to assess and measure progress in the future. More information: http://www.oregonmetro.gov/regional-leadership/access-
metro/equity

I-Walk—Administered by the Iowa Department of Public Health and the Iowa State University Extension and Outreach, I-Walk is the State of Iowa’s
walkability program. This walking assessment logistics kit is used to collect data, with a focus on older adults and school children. More information
can be found at http://www.i-walk.org/

TransBASE—Initially developed through funding from CDC’s Health Impact Assessment to Foster Healthy Community Design grant, TransBASE is
now institutionalized as a part of inter-agency transportation and health collaboration, and is currently funded as a local initiative. Data applications
of TransBASE include: spatially identifying high-injury corridors for targeted safety efforts for pedestrians, cyclists, and motorists in support of Vision
Zero; informing WalkFirst; harnessing data into a centralized system for monitoring and evaluation; and developing multivariate models to identify
environmental correlates of pedestrian injuries. More information available at: http://transbasesf.org/transbase/

The New York City Health Department has compiled data from its annual community health survey into a searchable, user-friendly interface to
query environmental data, health and behavior population data, and even downloadable neighborhood reports: http://a816-
dohbesp.nyc.gov/IndicatorPublic/publictracking.aspx




Identify Transportation and Health Needs, Resources, and Priorities                                                                             19 | P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 22
                                                        of 37

                                         Health in Transportation Corridor Planning Framework

                                                                         Sues

   Step 3: Develop Goals and Objectives that Promote Health in the Community

What happens here?                                                   Questions to Consider at this Step
The corridor study may include goals related to health. The health What are the potential health benefits of transportation decisions?
impacts of potential transportation strategies will be considered as To whom do these benefits apply? Are they equitable?
goals and objectives are developed. Goals and objectives related to How do the benefits relate to the health priorities in the community?
health provide a benchmark for establishing evaluation criteria and
                                                                     How do the transportation goals and the health priorities relate?
analyzing solutions.

     Partnerships and             Does the potential health benefit connect to other social metrics such as education, jobs, income?
                                  Are there specific populations impacted by the transportation decision?
       Stakeholders
                                  Is there a potential negative outcome to this population?
Health partners and               Are there ways to mitigate any adverse impact with respect to health?
stakeholders play an essential
                                  What are the community’s overall goals and values?
role in identifying the
relationships between             How are the community goals and values related to health?
transportation goals and          Are there specific public health risks?
objectives and public health
outcomes. Transportation          Collaboration between health and transportation professionals leads to a strong understanding of how
strategies are often connected    transportation improvements can benefit the community. Public health professionals can help engage community
to community benefits such as     groups and individual champions to identify community goals, priorities, and objectives that are related to health.
access to jobs and economic       Health partners can provide technical assistance in creating measurable objectives.
development goals that are        As health partners and stakeholders become more engaged in the process, making sure both sides clearly
also related to public health.    understand what is being communicated is critical. Transportation process, terminology, and other considerations
                                  are unfamiliar to health professionals. Conflicts may emerge in the goals discussion with respect to budget
Incorporating health into
                                  constraints, engineering standards, analytical processes, and other obstacles. Considering how these potential
transportation requires
                                  conflicts can be evaluated and resolved is important.
education on both sides to
avoid potential communication
barriers.




Develop Goals and Objectives that Promote Health in the Community                                                                          20 | P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 23
                                                        of 37

                                         Health in Transportation Corridor Planning Framework


   Questions to Inform            What are the transportation goals and objectives for the corridor?
                                  How does our investment in public health rank with other corridor priorities?
    Decision Making
                                  What resources/attention will these investments receive?
Decision makers need to           How will investment in health support other corridor priorities?
understand how incorporating
health will impact the            How do the transportation goals and the public health priorities relate?
transportation priorities and     What do they have in common? Are there any conflicts?
investments. Goal setting can     Are any goals mutually supportive?
formalize the intent to           What public health outcomes (determinants/behaviors/choices) can our decisions affect?
incorporate health.               How will potential inequities in the distribution of resources or access to health-promoting resources be addressed?
Transportation values and         What are the health risks that should be avoided in making transportation decisions (exposure, behavior,
priorities can then be            disparities)?
communicated clearly to
health partners and               Do any health priorities suggest different/new transportation objectives?
stakeholders.

                                  Data that could be useful:
   Data and Analytical           Any information that establishes the relationship between the current condition and the desired future condition
        Support                  could be useful. Such information will enable the identification of realistic and measureable goals and objectives.
Data and analysis at Step 3 are Consider these areas for comparison:
needed to support the               Active transportation           Air quality, air pollution
relationship between                Safety                          Access to food/health services
transportation decisions and        Land use                        Demographics, health equity
health outcomes. This
                                 Tools that could be useful:
relationship will inform the
                                 Tools for setting goals are typically to meet three purposes:
setting of measurable
objectives for identified health 1. Analysis to compare the base year and future year: Tools and data used in Step 2 will address this purpose.
goals. Potential interactions    2. Prioritizing or ranking potential investments: Methods such as analytical hierarchy process (AHP), facilitated
and impacts with other               discussion, and other process tools are useful when there is potential conflict or new participants.
community interests are also     3.  Engaging the public: Information from an existing community vision can provide useful input at this Step. Many
important to capture.                public participation options are available to gather input. On-line surveys to collect public input on goals and
                                     priorities is a useful and inexpensive option. One relatively new example of public engagement is Meeting in a
                                     Box. For more information: http://www.planeasttn.org/Participate/MeetinginaBox.aspx.



Develop Goals and Objectives that Promote Health in the Community                                                                         21 | P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 24
                                                        of 37

                                         Health in Transportation Corridor Planning Framework


                                                                     Resources

        Community Planning Toolkit – to support community and volunteer involvement in community planning processes. For information:
        http://www.communityplanningtoolkit.org/community-engagement

MetroQuest – A tool for interactive public engagement that builds on data that transportation agencies have available to solicit input on goals,
visions, scenarios, and a variety of other uses: http://metroquest.com/

STARS Safety, Health, and Equity Credits – A rating system used to evaluate the safety, health, and equity of transportation solutions. STARS is
available at the plan and project levels. For information: http://www.transportationcouncil.org/

                                                             Examples from Practice
The examples provided at this step highlight the potential for interagency collaboration to support healthy communities. By recognizing individual
agency priorities and aligning efforts, health can be improved across governmental sectors. Identifying a shared interest is a good starting point for
collaboration.

EMBARK used the Framework in the Northwest Corridor Concept planning in Oklahoma City to identify how changes can improve public health,
mobility, quality of life, economic development, and livability. Potential strategies that help meet the goals and objectives were identified and
considered by partners and stakeholders. By creating both health and transportation goals and objectives, the connections between the two areas
became clear. The selected health goals and objectives show diverse health issues considered rather than focusing on a single challenge. These
relate to improving public health, physical activity, and access to health resources. For additional information see the full case study report.

The California Health in All Policies Task Force is a collaboration of several State agencies, including Caltrans, the California Department of Public
Health, the California Department of Food and Agriculture, the Office of the Attorney General, the Department of Education, and others. The Task
Force works to improve the health of all people by applying the lens of health, equity, and sustainability to State agency decision making. The Task
Force continues to prioritize active transportation as a key indicator of healthy communities. Its recently updated Active Transportation Action Plan
identifies opportunities to increase walking, biking, and transit use and how each of the State agencies can support these goals. More Information:
http://sgc.ca.gov/docs/Active_Transportation_Action_Plan_9-26-14.pdf

The North Carolina Healthy Environments Collaborative (HEC) is an interagency partnership of the State departments of Health and Human
Services, Transportation, Environment and Natural Resources, cultural resources, and Commerce. The agencies work together to integrate and align
departmental efforts to improve health (public, economic, and environmental) across the State. The HEC has been involved in the development of
the Statewide Bicycle and Pedestrian Plan, which integrates public health considerations. More information: http://healthyamericans.org/health-
issues/prevention_story/north-carolina-transportation-commerce-and-environment-are-integral-in-building-healthy-communities and

Develop Goals and Objectives that Promote Health in the Community                                                                           22 | P a g e
                    Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 25
                                                        of 37

                                         Health in Transportation Corridor Planning Framework

http://www.walkbikenc.com/

The San Francisco Metropolitan Transportation Commission (MTC) has been engaging with health agencies for many years with a focus on injury
prevention. MTC’s most recent Regional Transportation Plan included a health-based performance target of average daily time walking or biking for
transportation. MTC based the target on the average amount of biking and walking for transportation among Bay Area residents who live within ½
mile of a rail or ferry station: 15 minutes per day. The agency evaluated 700 projects in the Bay Area, and completed a benefit/cost analysis for 100
of these projects to determine their impacts on the target. More information at: http://www.mtc.ca.gov/planning/2035_plan/

The Oregon Metro Climate Smart Communities Scenarios Project was established by legislation passed in 2009 after the Oregon Legislature
mandated that the Portland MPO, Metro, develop and implement a strategy to reduce greenhouse gas emissions from cars and trucks by 2035.
Metro identified policies that would make transit more affordable and accessible, biking and walking safer and convenient, and streets and highways
safer and more connected. These strategies are anticipated to “help people live healthier lives” through reduced air pollution and increased physical
activity to reduce illnesses and improve public health. The project shows how communities can fulfill environmental goals, while simultaneously
supporting other initiatives such as transportation and equity. More information on the project can be found at
http://www.oregonmetro.gov/public-projects/climate-smart-communities-scenarios




Develop Goals and Objectives that Promote Health in the Community                                                                         23 | P a g e
                      Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 26
                                                          of 37

                                             Health in Transportation Corridor Planning Framework

                                                                            Sues

    Step 4: Establish Evaluation Criteria that Include Public Health

What happens here?                                                        Questions to Consider at this Step
Strategies proposed to meet the corridor study goals and objectives       What transportation strategies have been proposed for the corridor?
are identified at this step. To consider health impacts within each       How can the potential health impact of these strategies be measured?
strategy, evaluation criteria are developed. These criteria will be       What contribution do health stakeholders provide to establishing evaluation
used in the next step to measure the effectiveness of alternative         criteria?
solutions from both a transportation and health perspective.
                                                                          What skills, data, tools, and information are available to measure health
                                                                          impacts?
                                                                          How will the selected evaluation criteria be effectively communicated to
                                                                          health stakeholders and the community?

      Partnerships and                How well are the selected evaluation criteria understood and agreed to?
                                      Who makes the final decision on evaluation criteria?
        Stakeholders
                                      How will the decision be communicated?
Setting the evaluation criteria is
essential to establishing a
strong understanding between Communication to health stakeholders is essential before and after the approval of criteria. Stakeholders need to
transportation and health          understand how their input has been considered and reflected in the criteria as well as who makes the final
before solutions are fully         decison. If the corridor study team includes health partners, communication may be most effective from health
considered. Health                 representatives.
stakeholders can provide           Information about potential health benefit to inform the selection of alternatives may emerge as criteria are
supporting information and         established. Specific design features of potential solutions can illustrate to decision makers that small changes can
guidance for evaluating            have a measurable effect.
potential health outcomes.




Establish Evaluation Criteria that Include Public Health                                                                                     24 | P a g e
                      Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 27
                                                          of 37

                                             Health in Transportation Corridor Planning Framework


    Questions to Inform               What is the full range of strategies to address the needs and priorities identified for the corridor?
                                      Which strategies are most relevant to the transportation needs?
     Decision Making
                                      Which strategies support desirable health outcomes?
Strategies are a critical step to     Which strategies address both the transportation needs and the desired health outcomes?
identifying individual
                                      Which strategies will be evaluated?
transportation improvements
in the corridor to address the    What is potential impact of the desired health outcome on the community/target population?
problems and needs. For           Can the health outcome be measured quantitatively? If not, how will it be evaluated?
example, land use changes or      Is the desired health outcome needed by the corridor population? Do they care about this outcome?
the addition of transit service   Does the desired health outcome address health disparities among the population in this corridor?
might help meet the               How long will it take transportation interventions to result in measurable health change?
transportation goals and          Can health impacts on individual population groups be measured? If so, who will be responsible measuring?
objectives while also addressing
                                  How will the information collected be used?
the health priorities. Although
traditional transportation        What other non-transportation impacts/benefits such as access to jobs, economic development, or
solutions will be identified      crime will be considered?
easily, considering a full range How and when will these impacts be considered? During alternative analysis?
of strategies to evaluate health How do the evaluation criteria address equity concerns?
impacts is critical.              How will the evaluation criteria be communicated to the public and stakeholders?
At this step the inter-           Are there performance measures to support the goals and objectives for the corridor?
relationships between
                                  How will the evaluation criteria be prioritized or weighted?
transportation, health, land
                                  Do previous studies have existing criteria and examples that can be used to inform this study?
use, and other aspects of the
community emerge. It is           How will health partners and stakeholders assist in the ranking of criteria?
possible to see benefits that are How do concerns with health equity affect the prioritization of the criteria?
broadly applicable.               Which criteria are quantitative? Which criteria are qualitative?
The questions identified also     How will we include both in the evaluation?
remind practitioners to look          Are any priorities identified in earlier steps not reflected in the goals?
back to previous steps for            Does the study present an opportunity to address these priorities?
opportunities to address more         Are any data, information, and metrics readily available?
than the goals and objectives         Is there time and resources available to consider these other health priorities?
require.                              How will we communicate the evaluation of other priorities to the public and stakeholders?
                                      Are any potential outcomes important to broader policy goals?

Establish Evaluation Criteria that Include Public Health                                                                              25 | P a g e
                      Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 28
                                                          of 37

                                             Health in Transportation Corridor Planning Framework


    Data and Analytical               Do we have the analysis capabilities for the strategies identified?
                                      What data and analysis tools do we need? Are they available? Are they at the right scale and in the right
         Support
                                      timeframe?
This step is a link between the       Who will collect and analyze the data?
baseline established in Step 2        What are the technical skills required for this analysis? Are they available?
to the comparison of
                                      What data/skills do our health partners bring? How does this affect our choice of criteria?
alternatives that will occur in
Step 5. Developing evaluation         What is the baseline for comparison? Does the baseline data still apply? What data gaps have been identified?
criteria will require agreement       What data on health indicators are available?
on data and analytical                Can these data be collected easily and consistently?
processes that will be used to        Are there non-traditional sources of data to consider?
evaluate potential solutions in
the corridor.                         Data and tools at this step:
Incorporating specific health     Although no specific analysis is required here, practitioners must plan for the data and tools that will be used for
criteria into the evaluation of   evaluating   the alternatives. A direct correlation between transportation strategies and public health benefits is
transportation solutions          difficult to establish; however, evaluating options in a qualitative or separate approach that will still inform
establishes a more formal and decisions is possible and valuable.
visible intent to consider health Data and analysis methods identified at Step 2 are the initial resources for this step. If the goals, and objectives
in the community.                 introduced new considerations, re-establishing the baseline may be necessary. Tools and analysis methods that
                                      will be applied in Step 5 are also considered at this step to determine whether the required data are available.
                                      Tools are not generally necessary to define the strategies to be evaluated.


                                                                        Resources

        NCHRP 770: Estimating Bicycling and Walking for Planning and Project Development: A Guidebook– Available at:
        http://www.trb.org/main/blurbs/171138.aspx
        National Bicycle and Pedestrian Documentation Project – Methodologies for tracking and estimating user demand.
http://bikepeddocumentation.org/
Walk Bike NC Plan Appendix – contains data to be considered for potential health benefits associated with transportation design strategies.
Available at: http://www.walkbikenc.com/wp-content/uploads/2014/11/Health-Appendix.pdf

         When are Bus Lanes Warranted? Considering Economic Efficiency, Social Equity, and Strategic Planning Goals - analyzes the impacts of
         adding bus lanes as well as how to gain the greatest benefit from the investment. Available at: http://www.vtpi.org/blw.pdf

Establish Evaluation Criteria that Include Public Health                                                                                       26 | P a g e
                      Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 29
                                                          of 37

                                             Health in Transportation Corridor Planning Framework


                                                            Examples from Practice
EMBARK plans to screen Improvements for the Oklahoma City Northwest Corridor using evaluation criteria specifically related to the goals and
objectives developed using the Framework. Selected strategies may add physical improvements or be policy-related, such as needed partnerships,
awareness campaigns, and special zoning. Strategies can be further refined by criteria that identify how the strategy will be measured for
effectiveness. For example, does a strategy that adds transit stops place a higher priority on access to health-related resources and jobs? For more
information, see the full case study report.

The Minnesota Department of Transportation’s (MnDOT) Corridor Investment Management Strategy included public health impacts in the
evaluation criteria used to evaluate, rank, and select highway projects for competitive funding. The criteria bases 60% of the project score on an
enhanced benefit-cost evaluation using a tool developed by Parsons Brinkerhoff called PRISM. The PRISM tool uses dollar-value equivalents to
evaluate social, economic, and environmental factors, including public health effects through bicycle and pedestrian physical activity, criteria
pollutants, safety, and noise. Other factors considered in 30% of the project score include a category identified as Community Health and Access.
Projects that improve access to preventative and clinical health care facilities/recreational facilities or that avoid/minimize negative impacts to or
positively improve access for low-income or disadvantaged populations receive a higher score. The remaining 10% of the project score is based on
local financial match. For more information on PRISM, see https://prism.pbworld.net/prism-overview .

The Healthy Communities grant program in Kentucky provided six mini grants of $5000 for communities to develop or advance pedestrian plans.
Training was provided to each community and interviews were conducted with grantees and State-level committee members. This information
helped develop a vision document and identify three strategies (see below) needed to improve development of pedestrian plans in Kentucky.
Kentucky Transportation Cabinet (KTC) will use the vision document to increase awareness of the need for pedestrian plans and to gain more
partnerships to help with providing training, technical assistance, and resources.
STRATEGY 1: Engage the community. Engage the leaders of local coalitions and build relationships between the community and decision makers
STRATEGY 2: Connect communities with easy-to-use resources. Kentucky-specific resources that designs the community for physical activity
STRATEGY 3: Provide training, technical assistance, and networking opportunities. Experience the possibilities first-hand to motivate individuals

Oregon Health Authority Transportation Options Health Impact Estimator – The Healthy Communities Lab in the Oregon Health Authority’s Public
Health Division (OHA-PHD) used the Integrated Transport and Health Impact Model (ITHIM) to assess the extent to which the Climate Smart Draft
Approach is expected to increase physical activity, reduce exposure to air pollutants, and prevent traffic collisions. The study shows how Oregon
used the BRFSS and ITHIM to evaluate scenarios to provide decision makers with cost savings associated with decreased illness and death. See:
http://public.health.oregon.gov/HealthyEnvironments/TrackingAssessment/HealthImpactAssessment/Documents/CSCS/OHA-
PHD_CSS%20HIA_Final.pdf




Establish Evaluation Criteria that Include Public Health                                                                                    27 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 30
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

                                                                        sues

   Step 5: Develop and Evaluate Alternatives and their Health Impacts

What happens here?                                                    Questions to Consider at this Step
Alternatives are potential solutions to address identified problems. What are the viable transportation alternatives?
Solutions may be very specific or no more than a high-level concept. How do these alternatives influence health outcomes?
This is an iterative step where potential solutions are vetted and    Are any of the alternatives preferred by health partners and stakeholders?
refined prior to evaluation and selection.
                                                                      Do the alternatives require additional support from partners outside
The outcome of this Step is a set of alternatives that allow decision transportation to implement effectively?
makers to understand the implications of their choices. Health        How can transportation practitioners evaluate the health impacts of
outcomes from transportation decisions may be difficult to            alternative transportation solutions?
quantify, which transportation practitioners often find problematic.

     Partnerships and              Who are the health stakeholders that can provide information and assist in comparing alternatives?
       Stakeholders                Are there health stakeholders with specific knowledge that is needed for evaluation?
                                   Are potential health impacts generally understood and agreed upon between health and transportation?
At this step, health
                                   Are there specific populations affected by individual alternatives?
stakeholders can assist
transportation practitioners by
identifying the potential health
impacts and tradeoffs of
different alternatives.




Develop and Evaluate Alternatives and their Health Impacts                                                                               28 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 31
                                                         of 37

                                          Health in Transportation Corridor Planning Framework


   Questions to Inform             How do the proposed alternative solutions affect health outcomes?
                                   How do they differ in terms of health outcomes?
    Decision Making
                                   How are health criteria impacted by the alternative corridor designs?
Alternatives that address the      What other known or planned activities are anticipated that might influence the importance of public health
transportation problem or          outcomes in the corridor? (new air quality standards, new transit line/station, or other anticipated changes)
need will provide the
foundation for this step. The      How will health in the community change if this alternative is implemented?
public health implications can     How much change is anticipated and over what timeframe?
then be considered with a          Do the alternatives meet the needs of specific population groups?
viable set of potential            Do the alternatives disproportionally affect (positively or negatively) the health of specific population groups?
transportation solutions.          What tradeoffs and benefits are associated with incorporating health priorities?
This is often the point at which How do we balance various public health outcomes?
return on investment is a part Do improvements in one area result in setbacks in another?
of staff considerations. It is   Are the identified tradeoffs likely to be acceptable to decision makers?
very difficult to quantify the   Is it possible to modify any alternative to address both health and transportation priorities?
“bang for the buck” that
                                 Does the alternative that best supports public health conflict with other transportation goals or functions?
transportation decision makers
                                 (preserving mobility and travel time reduction compared to access and safety issues)
are familiar with when
incorporating health. In         Is there a threshold where the benefits are strong but do not negatively impact other needs?
preparing for presenting         Do we accept this threshold?
alternative solutions to         How will we communicate the tradeoffs to stakeholders and the public?
decision makers, it is useful to What improvements are necessary to achieve the desired health outcome in the corridor?
gather any supporting            What level of investment is necessary to achieve the desired health outcomes?
information available to
                                 What level of confidence do we have in potential outcomes? How will this be validated for future considerations?
characterize the potential
return on investment.            Is there a recreational/ transportation distinction that is important to our decision makers?
                                 What future land use pattern is needed or expected to support alternatives?
                                 Is a connection to other bicycle and pedestrian/transit facilities included in the alternatives?
                                 Are any potential extra costs associated with the alternatives? (right of way/easement acquisition)
                                 Has information from an HIA or other health assessment been considered or did one inform these alternatives?
                                 If there are TIP project(s) identified for this corridor, what impact does this have on the recommended alternatives?




Develop and Evaluate Alternatives and their Health Impacts                                                                                    29 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 32
                                                         of 37

                                          Health in Transportation Corridor Planning Framework


   Data and Analytical             Data that could be useful:
                                  Significant new data collection is not anticipated if data have been gathered in Step 2. Additional data related to
        Support
                                  specific alternatives may be available. Consider recent data collection efforts that may inform specific interests.
Step 5 is a highly technical step Local data about travel behavior and travel markets
where analysis, both
                                  Forecasted mode split changes
quantitative and qualitative, is
                                  Anticipated future conditions (land use, demographics, travel patterns, economic development)
the focus. Data from health
stakeholders will be essential Recent survey data for transit, household travel, public involvement feedback
to developing the alternatives     Baseline data on corridor health conditions, such as health equity or health disparities related to obesity
and considering the potential      and asthma, quality of life, and other social determinants of health
outcomes and tradeoffs.            Anticipated health changes based on future population
In this step, much of the data Tools that may be useful:
collected in previous steps will The tools listed below are those currently available and used by some transportation practitioners. Some agencies
continue to be used. These       have found developing their own database or spreadsheet analysis methods beneficial to meet the specific needs
data will help consider how the of their region. The use of tools and analytical methods for integrating health into transportation is growing, and
alternatives differ in terms of this list is anticipated to grow and change over time.
public health outcomes and                The Integrated Transport and Health Impact Modeling Tool (ITHIM) – the ITHIM is a modeling tool that
how they compare to the                   provides integrated health impact assessments of transport through changes in physical activity, road
baseline condition.                       traffic injury risk, and urban air pollution. Modeling the alternative solutions for consideration of health
                                 impacts will help identify whether the alternatives can achieve the desired health outcomes, and what the
                                 tradeoffs might be. More information is available at: http://www.cedar.iph.cam.ac.uk/research/modelling/ithim/
                                 Health Economic Assessment Tools (HEAT) – HEAT is an online tool that estimates the value of reduced mortality
                                 resulting from regular walking and bicycling. This tool helps assess how the proposed alternative solutions affect
                                 public health outcomes, particularly for walking and biking. More information at:
                                 http://www.heatwalkingcycling.org/

                                                                     Resources
        Health Effects of London Bicycle Sharing System: Health Impact Modeling Study –The study evaluated the health implications of the
        London bike share program. More information at: http://www.bmj.com/content/348/bmj.g425
        Route Planning for Soft Modes of Transport: Healthy Routes – Describes approaches to linking walking and biking in an urban setting while
reducing exposure to noise and air pollution. More information: http://www3.dsi.uminho.pt/seeum2010/CD/artigos/2074_1.pdf
Planning Complete Streets for an Aging America –More information: http://www.aarp.org/home-garden/livable-communities/info-08-
2009/Planning_Complete_Streets_for_an_Aging_America.html
Develop and Evaluate Alternatives and their Health Impacts                                                                                   30 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 33
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

         Air Quality and Exercise-Related Health Benefits from Reduced Car Travel in the Midwestern United States – This study quantifies the
         benefits from reducing automobile use for trips in urban and suburban areas. More information:
         http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3261937/pdf/ehp.1103440.pdf


The following resources are related to return on investment
          A Resident’s Guide for Creating Safer Communities for Walking and Biking - FHWA guide with practical information on improving
          pedestrian and bicycle safety; includes checklists, tip sheets, worksheets, and sample materials that can be adapted to meet the needs of a
          particular community. http://safety.fhwa.dot.gov/ped_bike/ped_cmnity/ped_walkguide/residents_guide2014_final.pdf
Benefit Cost Analysis of Public Health Outcomes in Long-Range Transportation Planning in the San Francisco Bay Area – to identify the most cost-
effective projects and programs to increase active transportation in the region. http://trid.trb.org/view.aspx?id=1288720
Safer Streets, Stronger Economies - Summarizes the impacts of 37 complete streets projects for which before and after transport and economic
data were available. http://www.smartgrowthamerica.org/research/safer-streets-stronger-economies/
The Complete Business Case for Converting Street Parking into Bike Lanes - Synthesizes several studies that indicate bicycle facilities tend to
support local business. http://www.citylab.com/cityfixer/2015/03/the-complete-business-case-for-converting-street-parking-into-bike-
lanes/387595/
Community Design, Street Networks, and Public Health - Health outcomes using data from 24 cities in California indicate that more compact and
connected street networks have reduced rates of obesity, diabetes, and high blood pressure.
http://www.sciencedirect.com/science/article/pii/S2214140514000486
Designed to Move: Active Cities – Builds a case for creating active cities and then shares ways to do so. http://e13c7a4144957cea5013-
f2f5ab26d5e83af3ea377013dd602911.r77.cf5.rackcdn.com/resources/pdf/en/active-cities-full-report.pdf
The Economic Costs of Overweight, Obesity, and Physical Inactivity Among California Adults – 2006 - Estimates and analyzes the costs of
overweight, obesity, and physical inactivity for California; considering medical costs and lost productivity costs.
http://www.publichealthadvocacy.org/PDFs/Costofobesity_BRIEF.pdf
Evaluating the Economic Benefits of Nonmotorized Transportation - Provides information both on the types of economic benefits possible as well
as how to evaluate the benefits. http://www.pedbikeinfo.org/data/library/details.cfm?id=4926
Healthy Decatur: A Holistic Approach to Sustainability – Decatur, Georgia approach to sustainability, with some information regarding economic
change based on increased active transportation. http://www.atlantaregional.com/local-government/implementation-assistance/topical-resources
North-Avenue Corridor Redesign: Potential Health Impacts - The Chittenden County Regional Planning Commission health impact assessments
http://www.ccrpcvt.org/corridors/NorthAve/20140606_North_Avenue_Health_Impact_ASESSMENT_FINAL.pdf
Streetwise - Presents the case for increasing biking and walking in cities, quantifying the link between active transportation and public health.
http://www.economist.com/news/international/21663219-cities-are-starting-put-pedestrians-and-cyclists-motorists-makes-them



Develop and Evaluate Alternatives and their Health Impacts                                                                                31 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 34
                                                         of 37

                                          Health in Transportation Corridor Planning Framework


                                                             Examples from Practice
Akron METRO applied the Framework with the goal to improve transit service quality for existing and future METRO customers. METRO wanted to
ensure that transit decision making considers the needs of protected populations and engages them in the decision making process. The
alternatives evaluated were arrangements of existing bus stops with each analysis incorporating health and public safety inputs. This enabled
development of a stop consolidation scenario that protects access to medical/health facilities and purveyors of healthy food while improving travel
time and schedule adherence for transit customers. For more information, see the full case study report.

The Healthy Communities Atlas was developed by the San Diego Association of Governments (SANDAG) in collaboration with the San Diego Health
and Human Services Agency (HHSA) as part of the Healthy Works program. It highlights the program’s commitment to preventing obesity through
access to healthy food and physical activity. The Atlas uses GIS tools to illustrate the geographic distribution of environmental factors that influence
behaviors leading to obesity. More information at: http://www.sandag.org/index.asp?classid=12&projectid=482&fuseaction=projects.detail

Arlington County Commuter Services (ACCS) developed a method for determining the public health benefits of the agency’s programs.
“Transportation Demand in Arlington County: Calculating the Return on Investment for Public Health” describes the framework and its results.
ACCS observed the links between public health and TDM programs through five basic metrics: physical activity, safety, access to healthcare and
healthy food, quality of the environment, and mental health. In addition, ACCS adapted the Health Economic Assessment Tool (HEAT) and the
Physical Inactivity Cost Calculator (PICC) in order to perform a cost-benefit analysis of TDM programs. Following this framework, ACCS determined
that if the TDM programs helped an added 1% of residents get CDC-recommended levels of physical activity, the community would save $12 million
due to reductions in medical costs, lost productivity and workers compensation claims. Furthermore, residents would save $7.5 million because of
reduced mortality. More information: http://mobilitylab.org/2013/05/07/the-transportation-cost-savings-calculator-public-health-and-safety/

The Nashville Area MPO, in partnership with the Centers for Disease Control and Prevention, is the second city in the nation to run the Integrated
Transport and Health Impact Model (ITHIM). The model is a scenario planning tool that uses population-level estimates for minutes of increased
physical activity resulting from active transportation. It outputs the Disability Adjusted Life Years (years of lives saved and lived-longer) for
decreased prevalence of diseases including: cancers related to physical inactivity, motor vehicle injuries, air quality-related respiratory diseases, and
cardiovascular disease. Model outputs will be monetized for healthcare savings.

The Metropolitan Transportation Commission (MTC) explored the Benefits of Walking and Biking in the San Francisco Bay Area by developing a
methodology to quantify these benefits for transportation purposes. The analysis examined which projects had the greatest positive impact in
encouraging active transportation modes. Results identified that Bay Area residents could achieve $1.1 billion in lost productivity and healthcare
cost savings if the region could meet the regional target of 70% growth in active transportation by 2035. This is equivalent to 15 minutes of active
transportation per person per day. In a parallel effort to quantify the benefits of active transportation, the California Department of Public Health,
MTC, California Office of Environmental Health Hazard Assessment and others examined CO2 reduction scenarios and associated co-benefits. The
CA Department of Public Health applied the Integrated Health Transport Impact Model (ITHIM) to the Bay Area using model, air quality, U.S. Census
and public health data. For associated information see the press release from 2013: http://www.mtc.ca.gov/news/press_releases/rel595.htm

Develop and Evaluate Alternatives and their Health Impacts                                                                                   32 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 35
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

                                                                          sues

   Step 6: Identify Alternatives that Support Health in the Community

What happens here?                                                      Questions to Consider at this Step
Step 6 focuses decision makers on those alternatives that have the      Which alternative has the most potential to influence public health
potential for improved community health. Health partner and             meaningfully in this corridor?
stakeholder engagement is critical to create buy-in for the process     Are the resources available to implement the alternatives?
regardless of the outcome. This step illustrates the potential impact   How will the final decision on the selected alternative for the corridor be
transportation decisions can have on health and emphasizes the          communicated to health stakeholders and the community?
importance of maintaining relationships to continue supporting
                                                                        Have new relationships/partnerships been developed as a result of this study?
healthy communities. The step is a set up for adoption and
                                                                        How will the anticipated health outcomes be evaluated over time to inform
implementation of a preferred alternative, and for continued
partnership and relationship building.                                  future decisions?


     Partnerships and          Is there a sponsor or implementing partner for the alternatives preferred by public health?
       Stakeholders            Is there a multiagency partnership at the State or regional level that supports incorporating health?
                               Is there a relationship to other plans such as the Strategic Highway Safety Plan, Toward Zero Deaths, or Health in all
At this step, health partners
                               Policies?
and stakeholders show support
for alternatives that have the Is there a community or agency champion that has the potential to bring broad support for implementation?
most potential to influence    What do we know about public support for the alternatives?
public health. Long-term       Who will make the final decision on the selected alternative for the corridor?
partnerships formed during the
                               When and how will it be made?
development of the corridor
study provide additional       How will the public and stakeholders be informed?
incentive for incorporating    How can the public and stakeholders communicate their support for those alternatives that protect and promote
health along with broader      public health?
community support.
                               Have new relationships/partnerships been developed as a result of this corridor study?
Health partners, stakeholders,
and the public may have        Are they likely to endure?
limited understanding of the   What actions can be taken to improve the process/outcome in future corridor planning studies?
transportation decision making Is there an interest in maintaining an ongoing interface outside of the corridor planning study?
process. This step also
Identify Alternatives that Support Health in the Community                                                                                33 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 36
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

represents an education             Does the process and outcomes of the corridor planning study further institutionalize partnerships between
opportunity.                        agencies?
                                    Is the public more engaged with this inclusion of health?
                                    What have we learned about the public interest and perspective?

   Questions to Inform              Do the alternatives address the identified transportation problems as well as the health priorities?
                                 How do the alternatives affect health outcomes?
    Decision making
                                 What is the anticipated return on investment?
Comparisons of the               Do the alternatives conflict with other community goals?
alternatives developed in the
                                 Has an implementation plan been prepared?
previous step and the potential
for positive health outcomes     How   will outcomes be evaluated?
will be communicated to          How do we identify and communicate needed adjustments in future decisions?
decision makers. If health is a What other support is available to promote the alternatives preferred by health?
new topic for the policy group, Do other agencies buy in to the alternatives? (land use, economic development, other)
there will be a broader interest Do other agencies have a role in implementation?
in how the alternatives may be Is financial support from outside transportation decision making available?
supported by others and how
                                 Is there a way to create strong and lasting support for the process, the evaluation criteria, and the outcome?
future decision making will be
impacted.                        What   additional information about public health outcomes is desired for future planning processes?

                                    Additional data and analysis will be needed only if specifically requested by decision makers. This step could benefit
   Data and Analytical              from relaying experiences from other agencies as supporting information.
        Support                     Return on investment information developed or collected in Step 5 will be useful at this step.
At this step, discussions largely
will involve input and findings
from Step 5.


                                                                       Resources
        Our Built and Natural Environments: A Technical Review of Interactions Among Land Use, Transportation, and Environmental Quality- More
        information: http://www2.epa.gov/smartgrowth/our-built-and-natural-environments-technical-review-interactions-between-land-use.
        Lessons for Leaders: Navigating the Process of Healthy Community Change- Provides guidance for community leaders on how to best
        communicate ideas and goals to the public. More information: http://activelivingbydesign.org/lessons-for-
Identify Alternatives that Support Health in the Community                                                                                    34 | P a g e
                     Case No. 1:17-cv-01661-WJM-MEH Document 127-2 filed 03/20/18 USDC Colorado pg 37
                                                         of 37

                                          Health in Transportation Corridor Planning Framework

leaders/communication/introduction/
Healthy Community Design: Success Stories from State and Local Leaders - More information:
http://www.activeliving.org/files/HealthyCommunityDesign_ALL.pdf
Transportation and Health Policy Interventions for Safer Healthier People and Communities - Examines how policies can impact environmental
public health, enhance community design, promote active transportation, and reduce motor vehicle related injuries. More information:
http://www.prevent.org/data/files/transportation/transportationandhealthpolicycomplete.pdf

                                                             Examples from Practice

Appleton TMA use of the Framework provided an opportunity and pathway to advance work on integrating health and transportation through
increased dialogue and clear identification of shared interests and priorities among diverse stakeholders. After participating in initial stakeholder
meetings where public health staff shared their interests and concerns about the corridor, the Wisconsin State DOT expanded the scope of their
previously programmed traffic study to include the full corridor and multimodal components. The DOT also hired a consultant to consider bicycle
and pedestrian improvements. For more information, see the full case study report.

North Carolina was awarded 2 years of American Recovery and Reinvestment Act (ARRA) funding to develop an interdepartmental policy initiative
related to physical activity. The goal was to help each of four State agencies address policy issues to improve physical activity. The four participating
agencies are: NC Division of Public Health; NC Department of Transportation; NC Department of Environment and Natural Resources; and NC
Department of Commerce. The interdepartmental collaboration was referred to as the Healthy Environments Collaborative (HEC). The HEC remained
in place for more than 2 years after the initiative ended. Collaboration is still in effect, but no longer identified as the HEC.

In Iowa, the Governor’s office and Department of Public Health (DPH) have partnered on the Iowa Healthiest State Initiative. This privately-led
public initiative is intended to inspire Iowans and their communities throughout the State to improve their health and happiness. In 2013, Iowa
ranked as the 10th healthiest State in the nation. See more at: http://www.iowahealthieststate.com/about/about-the-
initiative#sthash.E0Fx4JaA.dpuf

In Minnesota, the Department of Transportation and the Minnesota Department of Health (MDH) have partnered for many years on a wide range of
health topics building on the State’s vision of incorporating health. The Statewide Health Partnership represents a coalition of agencies. The 2013
Legislature provided funding for an Urban Air Quality and Respiratory Health initiative to examine the role air quality plays in the health burden of
respiratory diseases in the Twin Cities region. Goals of the initiative include using data to inform communities regarding air quality issues, promoting
coordination between agencies, and demonstrating the use of an HIA as a tool to inform public health decisions. MDH worked with the DOT, MPOs,
and local governments to develop HIAs. MDH will suballocate grant funding to enable participation by staff from other agencies.




Identify Alternatives that Support Health in the Community                                                                                   35 | P a g e
